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 5
 6
 7
 8                                UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
11 GARY PALMER,                                          )   CASE NO. 2:05-CV-01935-MCE-GGH
                                                         )
12          Plaintiff,                                   )
                                                         )
13          v.                                           )   STIPULATION FOR EXTENSION OF
                                                         )   TIME FOR DEFENDANT THE
14 CHELSEA FINANCING PARTNERSHIP, LP, et                 )   KITCHEN COLLECTION, INC. TO
   al.,                                                  )   RESPOND TO COMPLAINT;ORDER
15                                                       )
                    Defendants.                          )
16                                                       )
                                                         )
17                                                       )
                                                         )
18
19
20          By and through their attorneys of record, plaintiff Gary Palmer (“Plaintiff”) and defendant
21 The Kitchen Collection, Inc. (“KCI”), referred to in the Complaint as The Kitchen Collection dba
22 Kitchen Collection Factory Outlet, hereby agree and stipulate as follows:
23          WHEREAS, KCI was served with the Complaint on or about October 13, 2005;
24          WHEREAS, KCI’s original deadline to respond was November 2, 2005;
25          WHEREAS, counsel for Plaintiff agreed to an extension to November 30, 2005 for all
26 defendants to respond to the Complaint;
27 ///
28 ///
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 1          WHEREAS, the extension to November 30, 2005 was agreed upon by plaintiff and other
 2 defendants prior to KCI being served with the Complaint;
 3          WHEREAS, Plaintiff has made a settlement proposal, and KCI would like an opportunity to
 4 evaluate the proposal and respond prior to responding to the Complaint;
 5          WHEREAS, the Complaint is 439 pages long with 2,896 paragraphs, requiring significant
 6 time and effort with respect to a response;
 7          WHEREAS, Plaintiff has agreed to an additional seven (7) day extension, which extends
 8 KCI’s deadline to respond to the Complaint to December 7, 2005 (only 35 days beyond KCI’s
 9 original deadline to respond),
10          THEREFORE, in accordance with Local Rules 6-144 and 83-143, Plaintiff and KCI
11 stipulate and agree that KCI shall have an extension of time, through and including December 7,
12 2005, within which to respond to the Complaint, and request that the Court enter an Order granting
13 the same.
14 Dated: November __, 2005                      ARNOLD & PORTER LLP

15                                               By: ________________________________
                                                     Regina A. Stagg
16                                                   Attorneys for Defendant The Kitchen
17                                                   Collection, Inc.

18 Dated: November __, 2005                      LAW OFFICES OF LYNN HUBBARD
19
                                                 By: ________________________________
20                                                   Scott Hubbard
                                                     Attorneys for Plaintiff Gary Palmer
21
22 IT IS SO ORDERED.
     DATED: November 30, 2005
23
24
25                                                ___________________________________
26                                                MORRISON C. ENGLAND, JR
                                                  UNITED STATES DISTRICT JUDGE
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